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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE TURKEY ANTITRUST LITIGATION


This Document Relates To:                          No. 19-cv-08318

Commercial and Institutional Indirect Purchaser    Hon. Virginia F. Kendall
Plaintiff Action (Case No. 1:20-cv-02295)          Hon. Keri L. Holleb Hotaling



     DEFENDANTS’ OPPOSITION TO COMMERCIAL AND INSTITUTIONAL
         INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS
         CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL

                   HIGHLY CONFIDENTIAL – FILED UNDER SEAL
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         The undersigned Defendants respectfully submit the following Opposition to the

Commercial and Institutional Indirect Purchaser Plaintiffs’ (“CIIPPs”) Motion for Class

Certification [Dkt. 836]. For the reasons below, the CIIPPs’ Motion should be denied.

I.       Introduction

         Growing, selling, and distributing turkey products in the United States is complex and

multifactorial.1 The proposed CIIPP class purports to include numerous distinct and unrelated

businesses in distinct and unrelated industries such as grocery stores, retail stores, restaurants,

hospitals, universities, airlines, medical centers, and food-management companies.2 By definition,

members of the proposed CIIPP class do not buy turkey products directly from turkey producers.

Instead, the distinct CIIPP entities buy varied turkey products, ranging from whole birds to breast

meat to branded ground turkey, from different suppliers through different sales channels. The

proposed class includes entities that vary widely in size, business model, and the type of customer

they service—ranging from, for example, a caterer that carves turkey, to a restaurant that buys

non-deli breast meat or makes turkey burgers, to retirement homes or hospitals that may

occasionally include turkey in their meal planning.




1
  See CIIPPs’ Ex. 2, Decl. and Report of Lauren J. Stiroh, Ph.D., Feb. 14, 2023 at ¶ 17 (hereinafter
“Stiroh Report”), ECF No. 839-2. All exhibits previously attached to CIIPPs’ Motion and
Memorandum in Support are designated with the prefix “CIIPPs’ Ex.” Exhibits cited for the first
time in this Opposition are designated with the prefix “Ex.”
2
 CIIPPs’ Ex. 1, Expert Report of Russell W. Mangum III, Ph.D. Regarding Class Certification,
Dec. 2, 2022 at ¶¶ 207–209 (hereinafter “Mangum Report”), ECF No. 839-1.


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        Rather than engage with these realities, the CIIPPs and their expert, Dr. Mangum, gloss

over them. In doing so, Dr. Mangum relies on averaging across the entire CIIPP class for all

products sold by all Defendants. As demonstrated herein, by glossing over the complexities of the

turkey industry and relying on Dr. Mangum’s flawed analysis, the CIIPPs fundamentally

undermine their class certification arguments.

        In lieu of grappling with the complexities described above, the CIIPPs cite frequently to

the class certification decisions in Broilers (In re Broiler Chicken Antitrust Litig., 2022 WL

1720468 (N.D. Ill. May 27, 2022)) and Pork (In re Pork Antitrust Litig., 2023 WL 2696497 (D.

Minn. Mar. 29, 2023)) as proof of “courts’ repeated certification of similarly complex antitrust

cases,” and suggest that the Court should ignore the deficiencies identified in this Opposition

accordingly.3 But not all antitrust cases concerning protein products are the same, and class

certification must be decided on the specific facts and record before the Court. In Broilers and

Pork, the courts credited the plaintiffs’ arguments that pricing in those industries tended to move

together regardless of the type or part of the animal in question, and thus would react uniformly in

response to the alleged conspiracy. Broilers, 2022 WL 1720468, at *14–15; Pork, 2023 WL

2696497, at *23–24. CIIPPs cannot show the same here given the unique characteristics of turkey

production, sale, and distribution. CIIPPs fail to satisfy the prerequisites for class certification

under Rule 23 for five distinct reasons.

        First, CIIPPs cannot establish predominance under Rule 23 because they cannot make a

showing of class-wide harm. CIIPPs’ expert, Dr. Mangum, offers an economic model that cannot

show common injury among the disparate class members. To overcome the complexities of turkey


3
 Mem. in Supp. of Commercial and Institutional Indirect Purchaser Pls.’ Mot. for Class
Certification and Appointment of Class Counsel, ECF 838, at 42 (hereinafter “CIIPPs’
Memorandum in Support”).


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production and distribution, as well as the differently situated buyers and sellers of turkey products,

Dr. Mangum relies on sweeping averages and assumes, rather than proves, uniform injury across

the entire class, all products, and all sales over the entire proposed class period. Indeed, he glosses

over the individual issues of fact which predominate. As Defendants’ expert, Dr. Lauren Stiroh,

demonstrated, once these complexities are accounted for, Dr. Mangum’s model shows that

numerous parties and sales channels in the CIIPP supply chain suffered no harm. Indeed, when

Dr. Mangum’s overcharge models are applied to individual customers, they show no overcharges

for
      -    of all class product sales to DPPs who resold to CIIPPs.

       Second, Dr. Mangum’s analysis similarly fails to proffer a method of showing measurable

class-wide damages through common proof. CIIPPs are required to tie each of their theories of

antitrust liability to a theory for calculating damages, which they have fatally failed to do.

Moreover, as with CIIPPs’ failed attempt to show class-wide injury, individualized damages issues

will also predominate.

       Third, CIIPPs cannot show either the required predominance or superiority under Rule 23

due to material variations in state law governing indirect purchaser actions. CIIPPs bring their

claims under 23 different state antitrust laws; 13 different state consumer-protection laws; and 24

different state unjust-enrichment laws, which contain numerous material differences with respect

to, for example, statutory construction, proof requirements, statutes of limitations, and the

availability of treble damages. These differences are not merely academic, and affect substantive

legal issues with the underlying claims, such that class treatment is not the superior method for

addressing them.

       Fourth, the CIIPPs’ class definition itself is fatally overbroad given the variation and

differences in the types of commercial entities included, as well as the production and sale of




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turkey products. The manner in which the different CIIPP class members—the number of which

CIIPPs’ expert does not even estimate—purchase turkey products is markedly different, and by

attempting to combine such disparate entities into a single class, CIIPPs include an impermissible

number of putative class members that have suffered no harm.

         Fifth, certain named plaintiffs are inadequate to serve as class representatives of the

proposed CIIPP class. In some instances, proposed class representatives had direct purchase

agreements with the Defendants, which would make them a direct purchaser rather than an indirect

purchaser and render them inadequate to represent the proposed CIIPP class.

II.      Factual Background

         A.      Sale and Distribution of Turkey Products is Complex and Differentiated

         The distribution and supply chain for turkey products is exceedingly complex from the

breeder-hatchery stage through distribution to end-user customers.4 As set forth in more detail in

Defendants’ Opposition to the Direct Purchaser Plaintiffs’ Motion for Class Certification, the first

step in the distribution chain includes sales of turkey products to distributors and larger entities

that buy products directly from processors, such as large grocery or restaurant chains.5 The CIIPP

level of distribution occurs one level beyond the DPP level—including sales from DPPs to CIIPPs

with varied business models.6 To obtain class certification, CIIPPs must show common impact

across this array of businesses in distinct and unrelated industries.




4
    CIIPPs’ Ex. 2, Stiroh Report at ¶¶ 17–18, ECF No. 839-2.
5
 Defs.’ Opp’n to Direct Purchaser Pls.’ Mot. for Class Certification and Appointment of Class
Counsel at 9–10 (hereinafter “DPP Opposition”).
6
 CIIPPs’ Ex. 1, Mangum Report at ¶¶ 207–209, ECF No. 839-1; CIIPPs’ Ex. 2, Stiroh Report at
¶¶ 28–29, ECF No. 839-2.


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          Turkey distribution occurs in various ways at the CIIPP level. A variety of different

entities-including distributors, redistributors, wholesalers, and groce1y-supply companies-may

purchase turkey products (directly or indirectly) from turkey producers and sell product to CIIPPs.7

Distributors can be large, national brands such as U.S. Foods, or smaller entities serving regional

or more local areas.8




          Indeed, "turkey" itself, as CIIPPs have defined it, is comprised of many different products.

For purposes of the present motion, the proposed class includes-and CIIPPs' expe1i analyzed-

three broad categories: whole birds, breast meat, and ground turkey, whether fresh or frozen. 11

Although CIIPPs genymandered their class definition to exclude a number of other common

turkey products- such as deli meat, bacon, legs, fully cooked breasts, sausage, and giblets 12- the

three categories of alleged class products included are themselves different in many ways. For

instance, whole birds typically come from smaller hens, while breast meat, wings and ground

turkey are typically created using heavy hens and toms, whose larger size results in more meat per

bird for these products. 13 Moreover, the three categories of products implicate different sales




7
    CIIPPs' Ex. 2, Stiroh Repo1i at ,I 28, ECF No. 839-2.
8
    CIIPPs' Ex. 1, Mangum Repo1i at ,I 55, ECF No. 839-1.




11
     CIIPPs' Ex. 1, Mangum Repo1i at ,I 9, ECF No. 839-1.
12
     CIIPPs' Ex. 1, Mangum Repo1i at ,I 9, ECF No. 839-1.
13
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 24, ECF No. 839-2.


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channels, customers, and consumer preferences, and are thus impacted differently by economic

forces. In fact, CIIPPs’ expert found that American consumers vastly prefer turkey sandwiches

(typically using breast meat) and burgers (using ground turkey) over other types of turkey meat.14

Whole birds, by contrast, are consumed differently and are most popular around the Thanksgiving

and year-end holidays.15




           B.     Proposed CIIPP Class is Composed of Disparate Entities

           The proposed CIIPP class is comprised of all entities that indirectly purchase turkey

products18 from Defendants for use in commercial food preparation in 28 states and the District of

Columbia.19 By definition, to be in the class, these indirect purchasers must purchase turkey

through one (or more) of hundreds of national and regional entities that act as intermediaries

through which the turkey products pass through to commercial preparers,20 and have no direct

purchaser relationship with any of the producer Defendants.21 The CIIPPs, through Dr. Mangum

or otherwise, have not attempted to calculate the number of members comprising the proposed

class.22


14
     CIIPPs’ Ex. 1, Mangum Report at ¶ 35, ECF No. 839-1.
15
     CIIPPs’ Ex. 1, Mangum Report at ¶ 33, ECF No. 839-1.
16
     CIIPPs’ Ex. 1, Mangum Report at ¶ 208, ECF No. 839-1.
I
18
     Defined as (1) uncooked turkey breast; (2) ground turkey; and (3) whole birds.
19
 CIIPPs’ Memorandum in Support at 2, n.5, ECF 838; CIIPPs’ Ex. 1, Mangum Report at ¶ 8, n.1,
ECF No. 839-1.
20
     DPP Opposition at 18–21.
21
     CIIPPs’ Ex. 1, Mangum Report at ¶ 210, ECF No. 839-1.
22
     Ex. 8, Mangum Dep. at 201:20–203:21.


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          Just as direct purchasers vaiy in tenns of size and business model,23 so too do the entities

that comprise the proposed CUPP class. Dr. Mangum states that the "majority of proposed CUPP

Class members are restaurants,"24 but also identifies "hotels, airlines, casinos, private schools,

crnise ships, and private hospitals,"25 in addition to food-management companies, retail, and

groce1y stores (so long as they do not purchase directly from turkey producers).26 Dr. Mangum

makes no distinction based upon the size of the proposed CUPP class member or the pricing

mechanislllS used by each class member to purchase turkey, despite the existence of vast

differences among proposed class members in those areas.




                                                       Despite these differences, neither the CUPPs nor




23 DPP Opposition at 18- 21.

24
     CUPPs' Ex. 1, Manglllll Repo1i at ,I 208, ECF No. 839-1.
25
     CUPPs' Ex. 1, Manglllll Repo1i at ,I 209, ECF No. 839-1.
26
     CUPPs' Ex. 1, Manglllll Repo1i at ,I,I 207, 209, ECF No. 83 9-1.
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Dr. Mangum have even attempted to quantify the prevalence of the various types of pricing

mechanisms utilized by CIIPPs for turkey purchases. 31

         C.     Defendants are Independent Decision Makers with Distinct Operations and
                Whose Turkey Production Did Not Move in Parallel

         Defendants themselves likewise have numerous differences with respect to their operations

and customer focuses.




31
     Ex. 8, Mangum Dep. 373:12- 374:6, 378:8- 379:6.
I




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          Moreover, between 2010 and 2016, aggregate US turkey production grew by 2.9%39-

again, contnuy to how a conspiracy to restrict supply would be expected to act, and contnuy to

CIIPPs' own allegations that the goal of the so-called conspiracy was to reduce production in order

to increase prices to supracompetitive levels.40 Dr. Mangum acknowledges the growth of turkey

production during the class period.41 He did not analyze but-for production levels for any defendant

or nm a production regression to detennine in his view what the level of turkey production should

have been, absent the pmported conspiracy among defendant producers and co-conspirators. 42

Likewise, he did not analyze production levels by product for all Defendants. 43

          D.     CIIPPs Lack Evidence of Conspiracy and Ignore Relevant Economic
                 Conditions

          CIIPPs broadly allege that "Defendants conspired to limit the supply and fix, raise, and

maintain prices for turkey products" through coordinated production cutbacks, as well as the




39
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 56, ECF No. 839-2.
°CIIPPs' Memorandum in Suppo1i at II.A, ECF 838.
4




42 Ex. 8, MangumDep. 309:10-1 7; 310:13- 311 :2.

43 Ex. 8, Mangum Dep. 279:3- 280:5.
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exchange of competitively sensitive information, specifically through Agri Stats.44 However, Dr.

Mangum did not analyze or form an opinion as to whether there was a conspiracy among

Defendants—                                                               As a result, in their Motion,

CIIPPs rely on supposition and misstated documents and testimony to support their assertion that

class treatment should be granted. While the Court need not assess at this juncture whether CIIPPs’

offered evidence is sufficient to survive summary judgment or to find liability at trial, it is relevant

to the assessment of whether the CIIPPs have established the elements of predominance. In re

Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 323 (3d Cir. 2008) (requiring the court to

undertake a “rigorous analysis” of “all of the relevant evidence”). Here, CIIPPs’ offered evidence

fails to establish concerted or common conduct that could be expected to produce anticompetitive

effects experienced class-wide.

                 1.     Uncontrollable Industry-Wide            Events    Explain     Deviations     in
                        Production Levels

          CIIPPs gloss over a number of significant industry-wide events outside the control of any

individual Defendant that impacted turkey production.

                                                                                        —specifically,

the Great Recession beginning in 2008, rising feed costs caused in large part by changes to federal

ethanol mandates impacting the industry starting in 2008-2009, droughts and other weather events,

and the 2014-2016 outbreak and impact of highly pathogenic avian influenza (“HPAI”).47 Dr.

Mangum himself acknowledges that these non-conspiratorial factors impacted turkey production


44
  CIIPPs’ Memorandum in Support at 2, ECF 838; CIIPPs’ Fourth Class Action Compl. ¶¶ 554,
561, 573–574, ECF No. 666.
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47
     CIIPPs’ Ex. 2, Stiroh Report at ¶¶ 38–48, ECF No. 839-2.


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and caused reduced production at times, 48                                                      ■



          The Great Recession beginning in 2008 caused a substantial reduction in demand for all

meat products in the country, with away-from-home food expenditures not recovering until 2011

and at-home food expenditures not recovering until 2014. 51 Industry experts have found that

poultry consumption is highly conelated with median income, and those income levels did not

fully recover until 2012. 52 This reduction in demand is borne out by the record levels of invento1y

that turkey producers had in this period- a sign that consumer demand could not meet the pace of

production. 53

          The Great Recession also coincided with the beginning of an unprecedented rise in feed

costs for meat producers (not just turkey producers), driven by new government regulations

concerning ethanol. 54 The 2007 Renewable Fuel Standard Program increased the annual volume

requirements for renewable fuels, and the resulting increases in ethanol production resulted in

higher com costs.55 In other words, as demand for com increased to produce more ethanol, turkey

producers were required to pay more for the com-a key ingredient to feed turkeys. 56 As a general


48
     CIIPPs' Ex. 1, Mangum Repo1i at ,i,i 189- 194, ECF No. 839-1.
I


51
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 39, ECF No. 839-2.
52
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 39, ECF No. 839-2.
53
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 40, ECF No. 839-2.
54
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 41 , ECF No. 839-2.
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     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 41 , ECF No. 839-2.
56
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 41 , ECF No. 839-2.


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matter, higher costs can lead to decreased production.57 In fact, USDA data shows that high feed

costs in 2008, 2012 and 2013 correspond with the periods of reduced turkey production alleged by

CIIPPs.58 Dr. Mangum himself acknowledges that there were “large increases” in feed costs during

this period.59

          In addition, the 2010 through 2013 period was marked by droughts and high heat events in

the Midwest and South. The USDA in fact predicted that red meat and poultry production would

contract in 2012 and 2013, in part because of “drought in the Southern Plains of the United States

(which extended through much of the middle of the country in 2012).”60

          Finally, the devastating HPAI outbreak from 2014 through 2016 caused significant

reductions throughout the industry, as 7.4 million turkeys in the country (approximately 8% of

turkeys grown for meat) were mass-depopulated or died as a result of the disease.61 The results




57
     CIIPPs’ Ex. 2, Stiroh Report at ¶ 42, ECF No. 839-2.
58
     CIIPPs’ Ex. 2, Stiroh Report at ¶ 41 & Figure 4, ECF No. 839-2.
59
     Ex. 8, Mangum Dep. 289:18–291:2.
60
   CIIPPs’ Ex. 2, Stiroh Report at ¶ 44, ECF No. 839-2; USDA Agricultural Projections to 2022,
United States Department of Agriculture, Office of the Chief Economist, at 82 (Feb. 2013),
https://www.ers.usda.gov/webdocs/outlooks/37731/35047_oce131.pdf (“High feed prices, the
economic recession, and drought in the Southern Plains of the United States (which extended
through much of the middle of the country in 2012) have combined to reduce producer returns and
lower production incentives in the livestock sector over the past several years.”); USDA
Agricultural Projections to 2021, United States Department of Agriculture, Office of the Chief
Economist,                    at                78                  (Feb.                  2012),
https://www.ers.usda.gov/webdocs/outlooks/37720/13983 oce121 2 .pdf (“Over the past several
years, high feed prices, the economic recession, and drought in the Southern Plains of the United
States have combined to reduce producer returns and lower production incentives in the livestock
sector. As a result, total U.S. red meat and poultry production is projected to fall in 2012 and
2013.”).
61
     CIIPPs’ Ex. 2, Stiroh Report at ¶ 45, ECF No. 839-2.


                                                 13
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were paiiicularly dire in Midwest states where the disease was more common, paiiiculai·ly in Iowa

and Minnesota, and dispropo1iionately affected producers based in those states. 62

                 2.      Agri Stats Offers Procompetitive Industry Benchmarking Services

          Agri Stats is a reporting service that collected infonnation from turkey producers and other

industry paiiicipants and created anonymized, aggregated repo1is related to turkey grow-out

operations, processing, and sales to facilitate competitive benchmarking among producers. -



                                                                                          -
                      As Judge Durkin concluded after extensive discove1y and summa1y judgment

briefing in Broilers II, "Agri Stats repo1is [about broiler chickens] did not reveal competitors'

production and pricing data." In re Broiler Chicken Antitrust Litig., 2023 WL 7220170, *27 (N.D.

Ill. Nov. 2, 2023) (Broilers 11) (emphasis added).




62
     CIIPPs' Ex. 2, Stiroh Repo1i at ,I 47, ECF No. 839-2.
I




                                                   14
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         Despite the above, CIIPPs claim that Defendants' use of Agri Stats "enabled them to

monitor and coordinate supply levels."69




                                                                                  Thus, like




69
     CIIPPs' Memorandum in Suppo1t at 4, ECF 838.
I




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the Agri Stats broiler chicken repo1is,"[e]ven if Defendants deanonymized the repo1is, they would

not have learned their competitors[' ] production and pricing data because it was not contained in

the version ofrepo1is Agri Stats provide[d] to them." Broilers II, 2023 WL 7220170, at *27.

               3.     CIIPPs Misstate Evidence of Alleged Conspiracy

       In addition to glossing over the plainly non-conspiratorial events described above that

impacted turkey production, the CIIPPs repeatedly twist facts and misstate documents to imply the

existence of a conspiracy where none existed. This includes, for instance, making inferential leaps

unsuppo1ied by a document's text, or ignoring context necessaiy to fully understand what a

document is indicating. While Defendants dispute all the allegations made by CIIPPs, a collection

of some of the more egregious examples of CIIPPs ' misstatements is explained below, in order to

assist the Comi with the "rigorous analysis" of the underlying facts required at the class

certification stage. Comcast C01p. v. Behrend, 569 U.S . 27, 33 (2013).




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anticompetitive or improper about a study using aggregated, historical data.
                                                                                         -
                                                                               There is nothing




                                                                                        -
                                                                         CIIPPs’ suggestion that

efforts to comply with applicable laws equate to an acknowledgement that certain conduct would

“potentially violate the antitrust laws” is incorrect and misleading.




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                                   See In re Broiler Chicken Antitrust Litig. , No. 16 C 8637, 2023

WL 4303476, *21 (N.D. Ill. June 30, 2023) ("To infer a supply reduction conspiracy that resulted

in a production decrease in 2012 from a text message about pricing that was sent at the end of 2012

is an unreasonable inference.").

       CIIPPs also repeatedly misstate or fail to provide context for numerous documents from

individual Defendants.




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         CIIPPs further misstate the existence and purpose of other conversations between

Defendants, misrepresenting that any such conversation is part of their alleged conspiracy

regardless of content or context.




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       Even internal discussions and pricing discussions with customers are not immune to

misrepresentation by CIIPPs.




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III.   Legal Standard

       Class actions are “an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348

(2011) (citations omitted). Rule 23 “imposes stringent requirements for certification that in

practice exclude most claims.” Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 234 (2013).

CIIPPs bear “the burden of demonstrating that certification is appropriate” by a preponderance of

the evidence. Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584, 596 (7th Cir. 1993). In

turn, this Court must conduct a “rigorous analysis” to determine whether CIIPPs have met their

burden through “evidentiary proof.” Comcast, 569 U.S. at 33. This standard makes it inappropriate

for Plaintiffs to seek to short-circuit review of the record simply by invoking class-certification

decisions in cases involving other protein industries. See Broilers, 2022 WL 1720468, at *2. The

evidentiary record before the Court is what must be rigorously analyzed.

       Under Rule 23(a), CIIPPs must establish numerosity, commonality, typicality, and

adequacy. Under Rule 23(b)(3) CIIPPs must prove “questions of law or fact common to class

members predominate over any questions affecting only individual members, and that a class

action is superior to other available methods” for resolving this dispute.

       Defendants have also filed a Motion to Exclude Expert Opinions of Dr. Russell Mangum

(“Mangum Daubert Motion”), the CIIPPs’ proposed class expert, due to serious flaws with his

economic models. That Motion highlights the CIIPPs’ inability to establish class-wide injury. The

non-reliability of Dr. Mangum’s models should inform the Court’s class-certification analysis

regardless of the Court’s disposition of the Daubert motion. Even if that Motion is denied (and Dr.

Mangum’s expert opinions are deemed to pass the threshold for admissibility for the purposes of

class certification), Dr. Mangum’s models cannot meet the Rule 23 requirements for sufficient

evidence of class-wide harm or individual injury. See, e.g., In re Hydrogen Peroxide, 552 F.3d at


                                                 22
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323 (“[O]pinion testimony should not be uncritically accepted as establishing a Rule 23

requirement merely because the court holds the testimony should not be excluded under Daubert

or for any other reason.”). Whether considered in the context of Daubert or the “rigorous analysis”

of “all relevant evidence” needed for class certification, see id., CIIPPs’ use of flawed economics

is insufficient to certify a class.

IV.     Argument

        CIIPPs’ Motion should be denied for five primary reasons. First, CIIPPs have not met their

burden to show class-wide injury can be proven through common proof or a class-wide method.

Their expert’s model cannot show all or substantially all DPP class members were overcharged

for their purchases of class products and that all or substantially all DPP class members passed on

any alleged overcharge to CIIPPs.

        Second, CIIPPs have failed to show that damages are capable of measurement on a class-

wide basis because their expert’s model shows there has been no overcharge for a significant

portion of Defendants’ sales that were resold to CIIPPs. In addition, their expert has failed to

attribute damages specific to either of CIIPPs’ theories of liability.

        Third, even if CIIPPs were able to overcome these insurmountable hurdles, they have not

presented a manageable way to address the material variations in the many state laws governing

their claims in a single trial.

        Fourth, CIIPPs seek to certify an overbroad class comprised of a wide variety of

commercial entities, in distinct industries, who purchased a wide variety of different turkey

products under myriad contractual arrangements. In doing so, CIIPPs include an impermissible

number of putative class members that have suffered no harm.




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       Fifth, CIIPPs cannot show that proposed class representative Logan Farms is an adequate

class representative when, by its own admission, it is a direct purchaser of turkey products from

one of the Defendants. For all these reasons, CIIPPs’ Motion should be denied.

       A.      CIIPPs Have Not Met Their Burden to Establish Predominance

       CIIPPs cannot satisfy Rule 23’s predominance requirement because individualized issues

predominate as to both injury and damages. “The decision whether to certify a class is one that

depends on a careful assessment of the facts, of potential differences among class members, of

management challenges, and of the overall importance of the common issues of law or fact to the

ultimate outcome.” Riffey v. Rauner, 910 F.3d 314, 318 (7th Cir. 2018). “To obtain class

certification, [CIIPPs] must show that common proof will predominate with respect to each …

element[] of [CIIPPs’] claims,” which include “individual injury, or impact” and “measurable

damages.” Reed v. Advocate Health Care, 268 F.R.D. 573, 581 (N.D. Ill. 2009) (citations omitted);

see also Messner v. Northshore Univ. Health Sys., 669 F.3d 802, 815 (7th Cir. 2012). “If proof of

the essential elements . . . requires individual treatment, then class certification is unsuitable.”

Reed, 268 F.3d at 581 (internal citations and quotations omitted).

       CIIPPs “must affirmatively show how common evidence and a single, reliable

methodology will prove an element on a simultaneous, class-wide basis.” In re Steel Antitrust

Litig., No. 08 C 5214, 2015 WL 5304629, *5 (N.D. Ill. Sept. 9, 2015); Gorss Motels, Inc. v.

Brigadoon Fitness, Inc., 29 F.4th 839, 845 (7th Cir. 2022) (affirming denial of class certification

where plaintiff failed to identify common evidence that could be used to conclusively resolve

whether purported class members were injured). Courts must conduct a rigorous analysis and “[i]f

there are material factual disputes, the court must ‘receive evidence . . . and resolve the disputes

before deciding whether to certify the class.’” Messner, 669 F.3d at 811 (citations omitted); see

also Santiago v. City of Chicago, 19 F.4th 1010, 1016 (7th Cir. 2021) (“A class may only be


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certified if the trial court is satisfied, after a rigorous analysis, that the prerequisites for class

certification have been met.” (internal citations and quotations omitted)).

          CIIPPs cannot satisfy the demanding criteria set forth in Rule 23(b)(3). See Kleen Prods.

LLC v. Int’l Paper Co., 831 F.3d 919, 925 (7th Cir. 2016). First, as to antitrust injury, CIIPPs have

failed to demonstrate that the alleged antitrust injury can be proven through evidence common to

the class rather than through individualized inquiries. The limited data produced by CIIPPs shows

there has not been an overcharge for a substantial number of customers, products, and Defendants.

Second, as to class-wide damages, individualized inquiries predominate over any common

questions.

                 1.      CIIPPs Have Not Proposed a Valid Method of Proving Class-Wide
                         Injury Using Common Proof

          A Rule 23(b) predominance analysis for a Sherman Act Section 1 claim begins with an

inquiry into whether there was a violation of antitrust law and whether there was class-wide injury

or impact caused by the violation. Messner, 669 F.3d at 815; Steel Antitrust, 2015 WL 5304629,

at *5. Even if CIIPPs could prove an antitrust violation (which they cannot),103 CIIPPs must also

prove class-wide antitrust injury flowing from that alleged violation with common evidence or

with a common methodology. Steel Antitrust, 2015 WL 5304629, at *6.104 This common

methodology must provide a reliable means for determining injury. “[E]xpert testimony should

never be ‘uncritically accepted as establishing a Rule 23 requirement[]’ . . . .” Id. at *7 (internal

citations omitted); see also id. at *9 (“Rule 23 requires the court to take a hard look at the soundness




103
      See supra Sec. II.C.
104
   Defendants do not concede the existence of a conspiracy or that Plaintiffs have set forth class-
wide evidence of a conspiracy. See supra at Part II.D.


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of statistical models that purport to show predominance.”). As described by a recent district court

in a decision denying class certification for lack of common injury:

          A flawed model [proferred by an expert] may result in denial of class certification
          for failure reliably to establish the preponderance of common issues, whether
          because the model measures harm not attributable to the conspiracy, yields false
          positives, masks uninjured class members by using an “averaging” mechanism to
          allocate injury across the class, or otherwise fails to demonstrate with scientific
          rigor that classwide impact can be established through common proof.

In re Aluminum Warehousing Antitrust Litig., 336 F.R.D. 5, 49 (S.D.N.Y. 2020) (internal citations

omitted). Here, CIIPPs rely on Dr. Mangum’s overcharge model to prove antitrust injury for each

member of the putative class through a common methodology, but Dr. Mangum’s model cannot

show class-wide impact warranting denial of class certification.

                         a.     Dr. Mangum’s Model Shows No Overcharge for Numerous
                                Customers, Products, and Defendants

          In order to show injury, CIIPPs must first demonstrate the existence of an overcharge on

all or substantially all DPPs who resold class products to the CIIPPs. See In re Processed Egg

Prods. Antitrust Litig., 312 F.R.D. 124, 149–50 (E.D. Pa. 2015) (noting that indirect purchasers

must demonstrate “two-levels of impact capable of proof using classwide evidence[,]” with the

first being the existence of an overcharge) (citing In re Graphics Processing Units Antitrust Litig.,

253 F.R.D. 478, 502–04 (N.D. Cal. 2008)). Here, Dr. Mangum’s model purports to show average

impact across all DPPs, products, and Defendants, but cannot show whether all or even

substantially all putative Class members paid higher prices for Class products. Dr. Stiroh applied

Dr. Mangum’s models to individual customers, products, and Defendants where sufficient data

was available and found “that numerous purported Class members and products were not subject

to any overcharge according to [Dr. Mangum’s] own models.”105 In total, Dr. Stiroh found that


105
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 94, ECF No. 839-2.


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“               of Defendants’ sales that Dr. Mangum estimates are resold to CIIPPs were made to

DPP resellers where his own overcharge model finds no overcharge for the given product

category.”106 This means that for
                                    -            of Defendants’ sales that were resold to CIIPPs—

                       —there was no overcharge to be passed-through to CIIPPs and therefore no

injury. Consistent with this finding, when applying Dr. Mangum’s overcharge model on the ■

DPP resellers identified by Dr. Mangum who resold class products to CIIPPs, there are no

statistically significant overcharges for: (1)

(2)
      -                                          -   of the DPPs who resold breast meat to CIIPPs;

           of the DPPs who resold ground turkey to CIIPPs; and (3)

whole birds to CIIPPs.107
                                                                           of the DPPs who resold




          Dr. Stiroh conducted a similar exercise for individual Class Products and Defendants that

yielded similar results. As described in greater detail in the Mangum Daubert Motion, when


106
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 153, ECF No. 839-2 (emphasis added).
107
    CIIPPs’ Ex. 2, Stiroh Report at ¶ 152, ECF No. 839-2. When applying Dr. Mangum’s model to
all individual DPPs using available data, including those who did not sell class products into the
CIIPP supply chain, Dr. Stiroh found: (i)
overcharges for their purchases of breast meat, which accounts for
members that purchased breast meat; (ii)

members that purchased ground turkey; and (iii)
                                                                       --
                                                                  with no statistically significant
                                                                             of putative DPP class
                                                                 with no statistically significant
overcharges for their purchases of ground turkey, which accounts for          of putative DPP class
                                                                   with no statistically significant
overcharges for their purchases of whole birds, which accounts for ■ of putative DPP class

total, Dr. Mangum’s model shows that at least
                                                  -
members that purchased whole birds. CIIPPs’ Ex. 2, Stiroh Report at ¶ 95(b), ECF No. 839-2. In
                                                       of the putative DPP class did not have an
overcharge for at least one class product. CIIPPs’ Ex. 2, Stiroh Report at ¶ 95(b), ECF No. 839-2.




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applying Dr. Mangum's model to individual products using available data,



                                                     The same can be said for some Defendants, as

well.




--        Dr. Mangum's model impennissibly masks all of these instances of no statistically

significant overcharges by using an average impact across all customers, products, and Defendants.

Without individualized inquiries, the precise magnitude of direct purchasers who paid no

overcharge, or class products for which there was no overcharge, is unknown.112 What is known,

however, is that Dr. Mangum's use of average impact is not a reliable method for demonstrating

injmy on a class-wide basis. See, e.g. , Reed, 268 F.R.D. at 590- 91 (rejecting model that relied on

averages to establish class-wide impact because"[m]easuring average base wage suppression does

not indicate whether each putative class member suffered haim from the alleged conspiracy"); see

also Aluminum Warehousing, 336 F.R.D. at 62-63 (rejecting model that attempted to gloss over

complexities in data through averaging). CIIPPs ai·e unable to show class-wide impact as a result.

                        b.     CIIPPs Cannot Show That Overcharges Were Passed Through
                               Using Common Proof

          In order to show injmy, CIIPPs must not only demonstrnte the existence of an overcharge

on DPPs, but CIIPPs must also demonstrate through common proof the overcharge was passed




112
      CIIPPs' Ex. 2, Stiroh Repo1t at~ 95(b), ECF No. 839-2.


                                                28
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through to them by DPPs. See In re Processed Egg Prods., 312 F.R.D. at 149–50, 160–61 (noting

that “because the Plaintiffs are indirect purchasers, they must demonstrate that . . . all (or virtually

all) retailers passed on the overcharge to the Plaintiffs” and denying class certification in part for

Plaintiffs’ failure to do so (citation omitted)); In re Fla. Cement and Concrete Antitrust Litig., 278

F.R.D. 674, 683–84 (S.D. Fla. 2012) (denying class certification of indirect purchaser price fixing

claims where Plaintiffs “fail[ed] to establish that an overcharge was passed down to all indirect

purchasers included in the class”). The CIIPPs cannot do this because Dr. Mangum’s pass-through

analysis is unreliable and fatally flawed because it fails to account for variation of pass-through

rates by DPP, by product, and by CIIPP.

          In an attempt to show pass-through with common evidence, Dr. Mangum uses a regression

model to estimate pass-through rates for just                 DPP resellers he identified in the CIIPP

supply chain by purportedly measuring the relationship between those DPPs’ input costs and

output prices.113 As explained in greater detail in the Mangum Daubert Motion, Dr. Mangum’s

pass-through model should be excluded as unreliable.114 Dr. Mangum provides no rationale or

methodology for selecting these   I DPP resellers or excluding the other ■ DPP resellers,
                                                                                                 -
                                          Nor does he provide evidence that these    I DPP resellers
are representative of the resellers from which the named CIIPP class representatives or putative

class purchased Class Products. An analysis of these ■ DPP resellers shows that CIIPPs cannot

demonstrate any alleged overcharge was passed on through common proof.




113
      CIIPPs’ Ex. 1, Mangum Report at ¶ 229, ECF No. 839-1.
114
      Mangum Daubert Motion at 10–13.


                                                  29
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--                                                                 In doing so, Dr. Mangum also

ignores the variation of pass-through rates across DPP resellers across products, and across CIIPP

class members. With respect to products, Dr. Stiroh examined the available data and found

substantial variation of pass-through rates across different products, including those sold by the

same DPP reseller. 117




          With respect to customers, Dr. Stiroh found that DPP resellers did not pass through the

same amount of cost increases to their customers.




                 Dr. Mangum fails to account for these differences, rendering his pass-through

estimates unreliable and waiTanting a denial of class ce1tification. See In re Graphics Processing



115
      CIIPPs' Ex. 1, Mangum Repo1t at~ 229, Figure 44, ECF No. 839-1.
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117
      CIIPPs' Ex. 2, Stiroh Report at~ 159, ECF No. 839-2.
■
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Units , 253 F .R.D. at 505 (class certification defeated where "plaintiffs method of proving pass-

through requires a reseller-by-reseller analysis").

          The record evidence also demonstrates that Dr. Mangum's average pass-through rate is

inadequate to show injmy to substantially all class members.




- - Cf Broilers, 2022 WL 1720468, at *18 (finding that indirect plaintiffs demonstrated

pass-through, in pa1t, "because representatives of the direct purchasers testified that they always

pass on costs") (emphasis added) . Here, CIIPPs seek to ce1tify a class comprised of highly

differentiated products purchased by disparate entities through individualized pricing and

contracting mechanisms.122 CIIPPs cannot demonstrate the overcharge was passed through to them

by DPPs with common proof. Their Motion should be denied.

                 2.      CIIPPs Have Failed to Show a Class-Wide Method for Proving
                         Damages

          Even if CIIPPs were able to prove antitrnst injmy with common evidence (which they

cannot), CIIPPs have failed to proffer a method of showing measurable class-wide damages

through common proof. As part of the predominance inquny , a comt "must see if there is a

classwide method for proving damages, and if not, whether individual damage detenninations will

ove1whelm the common questions on liability and impact." Kleen , 831 F.3d at 929. Critically, this

includes detennining whether each of the plaintiffs' theories of antitrust impact is tied to a

calculation of damages. Comcast, 569 U.S. at 34-38. Here, CIIPPs have not demonsti·ated a class-




122
      See supra Secs. II.A, B.


                                                 31
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wide method for proving damages and their own expert has shown that individual damage

determinations are necessary.

                       a.       Dr. Mangum’s Damages Model Violates Comcast

         Dr. Mangum’s model—which purports to calculate overcharges broadly caused by

Defendants’ alleged conduct—fails to tie each of Plaintiffs’ theories of antitrust impact to a

calculation of damages, and thus cannot show that damages are capable of measurement on a class-

wide basis. CIIPPs allege that putative class members suffered overcharges based on two different

theories: (1) a “rule of reason” claim based on an alleged agreement to exchange competitively

sensitive information, specifically through Agri Stats; and (2) a “per se” claim based on alleged

coordinated production cutbacks.123 Dr. Mangum purports to calculate total class damages of


-                                                                                             -
           but does not attribute specific damages to either of CIIPPs’ two theories.124 As the

Supreme Court recognized in Comcast Corp. v. Behrend, translating “the legal theory of the

harmful event into an analysis of the economic impact of that event” is a foundational requirement

for establishing that damages are capable of measurement on a class-wide basis. 569 U.S. at 38

(emphasis in original). In Comcast, the Court reversed a grant of class certification because the

plaintiffs’ expert’s model failed to “isolate damages resulting from any one theory of antitrust

impact.” Id. at 32. In reversing, the Court discussed that the expert’s model improperly purported

to calculate “damages resulting from the alleged anticompetitive conduct as a whole.” Id. at 36–

37 (internal quotations omitted). Here, Dr. Mangum’s model suffers from the same fundamental

problem.




123
   See CIIPPs’ Memorandum in Support at 2, ECF 838; CIIPPs Fourth Class Action Compl. ¶¶
554, 561, 573–574, ECF No. 666.
124
      CIIPPs’ Memorandum in Support at 42, ECF 838.


                                               32
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                                          In light of this failure, Dr. Mangum's model does not and

cannot show that damages are capable of measurement on a class-wide basis-and CIIPPs are

unable to do so as a result. Comcast, 569 U.S. at 34, 38.

                         b.     Plaintiffs Fail to Provide a Reliable Method to Show Damages
                                on a Class-Wide Basis and Individual Damages Determinations
                                are Necessary

          Plaintiffs also fail to provide a reliable method to show damages on a class-wide basis for

the same reasons they cannot show common impact. As explained above, Dr. Mangum's model

fails to reliably demonstrnte a class-wide method for proving damages as it shows there has been

no overcharge for a significant po1i ion of Defendants' sales that he estimates were resold to

CIIPPs.126 Specifically, based on his own model,                      of Defendants' sales that Dr.

Mangum estimates are resold to CIIPPs were made to DPP resellers where his own overcharge




126
      CIIPPs' Ex. 2, Stiroh Repo1i at ~ 153, ECF No. 839-2.


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model finds no overcharge for the given product category.”127




                                                        The same is true as to the numerous other

DPP resellers for which Dr. Mangum’s model does not show an overcharge.130

                                                , due to the varied nature of pricing formulas,

contracts, and purchasing power of buyers, common injury cannot be assumed, but rather,

individualized inquiries will be necessary. To undertake such an analysis would require

comprehensive data for each and every relevant transaction by each CIIPP class member sufficient

to establish the turkey product purchased, the identity of the producer, the identity of the seller,

the price paid and pricing mechanism, any rebates or discounts, the quantity purchased, and the

date of purchase.131 Dr. Mangum made no such effort to do so, nor did he propose a common

methodology that could do so. Indeed, despite Defendants’ discovery requests for such

information, not even all of the proposed CIIPP class representatives produced this level of

information to determine the existence or extent of any alleged injuries because it was not


127
   CIIPPs’ Ex. 2, Stiroh Report at ¶ 153, ECF No. 839-2. CIIPPs point to this and claim that “Dr.
Stiroh does not dispute the existence of actual overcharges.” CIIPPs’ Memorandum in Support at
29, ECF 838. This is false. Dr. Stiroh has opined that Dr. Mangum’s overcharge regression model
suffers from fatal flaws that cannot be used to establish the existence of overcharges. Even if these
fatal flaws did not exist, however, Dr. Stiroh has demonstrated that this model is unreliable for any
damages analysis, because it erroneously applies overcharge estimates to more than a third of DPP
sales resold to CIIPPs when there was no overcharge in the first instance.
■
■
130
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 96, Ex. 7B–D, ECF No. 839-2.
131
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 153, ECF No. 839-2.


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available.132 As Dr. Stiroh explained, on this record, “[i]t is not possible to establish the extent to

which, if at all, any CIIPP Class member was injured with information that has been produced in

this matter.”133 For the putative class, even if such comprehensive data were available,

individualized inquiries would be necessary to resolve any disputes and discrepancies with the

data. CIIPPs have failed to proffer a class-wide method to do so without conducting individualized

inquiries. In re Rail Freight Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d 14, 144 (D.D.C. 2017)

(denying class certification where plaintiffs failed to offer a reliable methodology for assessing

damages on a class-wide basis “without requiring the Court or the jury to engage in individualized

inquiries”).

                 3.      CIIPPs Cannot Show Predominance or Superiority Due to Variations
                         in State Laws Governing Indirect-Purchaser Actions

          In addition to their inability to show injury or damages on a class-wide basis using common

proof, CIIPPs cannot establish predominance or superiority because of material variations in the

many state laws governing their claims. In total, CIIPPs bring claims under the laws of 29 different

jurisdictions, alleging violations of state antitrust statutes (23 states and Washington, D.C.);134

consumer-protection statutes (13 states);135 and common-law unjust-enrichment claims (24 states

and Washington, D.C.).136 “It is well established under Seventh Circuit case law . . . that if the



132
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 153, ECF No. 839-2.
133
      CIIPPs’ Ex. 2, Stiroh Report at ¶ 154, ECF No. 839-2.
134
   Arizona, California, D.C., Illinois, Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi,
Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota,
Oregon, Rhode Island, South Dakota, Tennessee, Vermont, West Virginia, and Wisconsin.
135
   California, Florida, Minnesota, Nebraska, New Hampshire, New Mexico, New York, North
Carolina, North Dakota, South Carolina, South Dakota, Vermont, and Wisconsin.
136
    Arkansas, Arizona, D.C., Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi, Missouri,
Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, Oregon, Rhode
Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.


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states’ laws differ, class certification is improper.” Siegel v. Shell Oil Co., 256 F.R.D. 580, 583

(N.D. Ill. 2008) (internal citations omitted); see also Hale v. Emerson Elec. Co., 942 F.3d 401, 403

(8th Cir. 2019) (“Variations in state law may swamp any common issues and defeat class

certification under Rule 23(b)(3).”) (internal citations omitted). When seeking to certify classes

that implicate the laws of many jurisdictions, Plaintiffs “must provide an extensive analysis of

state law variations to address whether the differences in law pose insuperable obstacles.” Doster

Lighting, Inc. v. E-Conolight, LLC, No. 12-C-0023, 2015 WL 3776491, *15 (E.D. Wis. June 17,

2015) (internal citation omitted). CIIPPs have not done so here, which is fatal to their motion. In

re Processed Egg Prods., 312 F.R.D. at 143 (rejecting plaintiffs’ attempt in an antitrust price-

fixing case “to place 21 square pegs into a single round hole, asking the Court to envision 21

statewide classes under the antitrust laws of 21 states, the consumer protection laws of seven states,

and the unjust enrichment laws of 17 states, all tried in a single proceeding as if it were a

nationwide class under federal antitrust law”).

       Here, CIIPPs have not presented a manageable way to try their state antitrust claims in a

single trial where some state antitrust statutes require courts to prevent duplicate liability,137 some

states provide for actual damages, but not enhanced damages,138 and some states require additional

proof for higher damages.139 In addition, there is variation among the state antitrust laws as to


137
   See, e.g., N.Y. Gen. Bus. Law § 340(6) (2014) (providing “in any action in which claims are
asserted against a defendant by both direct and indirect purchasers, the court shall take all steps
necessary to avoid duplicate liability”); R.I. Gen. Laws § 6-36-11(a) (2014) (similar); 9 Vt. Stat.
§ 2465(b) (1999) (similar); Minn. Stat. § 325D.57 (2023) (similar); Neb. Rev. Stat. § 59-821.01(2)
(2002) (similar); S.D. Codified Laws § 37-1-33 (1991) (similar); Clayworth v. Pfizer, Inc., 233
P.3d 1066, 1086 (Cal. 2010) (similar).
138
  See, e.g., Miss. Code Ann. § 75-21-9 (2010); Neb. Rev. Stat. Ann. § 59-821 (2002); Sperry v.
Crompton Corp., 863 N.E.2d 1012, 1017-18 (N.Y. 2007) (class actions cannot seek treble
damages); Tenn. Code Ann. § 47-25-106 (2021).
139
   See, e.g., Ariz. Rev. Stat. § 44-1408(B) (2023) (only for “flagrant” violation); 740 Ill. Comp.
Stat. § 10/7(2) (1965) (only if injury is “due to a violation of subsections (1) or (4) of Section 3 of

                                                  36
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whether the alleged conspiracy affects interstate commerce which would require application of

differing legal standards in an individualized process. Compare, e.g., Arthur v. Microsoft Corp.,

696 N.W.2d 29, 37 (Neb. 2004) (Nebraska antitrust law “provide[s] consumers with protection

against unlawful practices in the conduct of any trade or commerce which directly or indirectly

affects the people of Nebraska”) with In re Keurig Green Mountain Single-Serve Coffee Antitrust

Litig., 383 F. Supp. 3d 187, 266–67 (S.D.N.Y. 2019) (noting that Mississippi law focuses on where

the anticompetitive conduct occurred as opposed to the effects of the conduct).

       As for CIIPPs’ consumer-protection and unjust-enrichment claims, courts have found the

variations in state common law and the individualized proof required to be unmanageable in a

single class action. Lilly v. Ford Motor Co., No. 00-C-7372, 2002 WL 507126, *2 (N.D. Ill. Apr.

3, 2002). “State consumer-protection laws vary considerably, and courts must respect these

differences rather than apply one state’s law to sales in other states with different rules.” In re

Bridgestone/Firestone, Inc., 288 F.3d 1012, 1018 (7th Cir. 2002). These variations would require

a jury attempting to decide liability to navigate multiple legal standards. Compare N.M. Stat. § 57-

12-2(E) (2019) (In New Mexico, plaintiffs must show defendants’ conduct “takes advantage of the

lack of knowledge, ability, experience or capacity of a person to a grossly unfair degree” or “results

in a gross disparity between the value received by a person and the price paid.”) with In re EpiPen

Mktg., Sales Pracs. & Antitrust Litig., No. 17-md-2785-DDC-TJJ, 2020 WL 1180550, *55 (D.

Kan. Mar. 10, 2020) (discussing that Florida, North Carolina, and Vermont “consider the following

factors: (1) whether the practice offends public policy, the common law, or otherwise; (2) whether

it is immoral, unethical, oppressive, or unscrupulous; or (3) whether it causes substantial injury to



this Act”); Mich. Comp. Laws § 445.778(2) (1985) (only for “flagrant violation”); N.H. Rev. Stat.
Ann. § 356:11(II) (2008) (only for “willful or flagrant” violation); North Dakota: N.D. Cent. Code
§ 51-08.1-08(3) (2021) (only for “flagrant” violation).


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consumers”). These differences create individualized issues that make class-wide adjudication

unmanageable.

       Unjust enrichment claims are not suitable for multi-state class treatment because states vary

in how the elements of such claims are treated. See Muehlbauer v. Gen. Motors Corp., No. 05-C-

2676, 2009 WL 874511, *5 (N.D. Ill. Mar. 31, 2009) (“[T]he cases explain that multi-state class

actions for unjust enrichment are inappropriate.); In re Processed Egg Prods., 312 F.R.D. at 164

(denying class certification and explaining “courts have noted the extent to which unjust

enrichment laws vary across states and found them unmanageable in a single class litigation”). For

example, some states require a showing of “mistake, coercion, or request” while others do not.

Compare Dowling Family Partnership v. Midland Farms, 865 N.W.2d 854, 864 (S.D. 2015), with

Rapp v. Green Tree Servicing, LLC, 302 F.R.D. 505, 514 (D. Minn. 2014) (discussing different

standards under state law). In addition, the jury would have to parse different limitations periods

between the various states, and in some instances, between the various claims within a state.140

       CIIPPs have not proffered a reasonable method to manage the differences between the

various state laws and jurisdictions at issue here. In re Ford Motor Co. Ignition Switch Prods.

Liab. Litig., 174 F.R.D. 332, 350 (D.N.J. 1997) (“[A] court cannot rely on assurances of counsel

that any problems with predominance or superiority can be overcome.”) (internal citation omitted).

CIIPPs argue that the above variations are immaterial because “[e]ach state represented in the

proposed Class has either enacted an antitrust statute that is construed in harmony with the


140
   Compare, e.g., Ark. Code § 4-88-115 (2020) (five-year limitations period for deceptive-trade-
practices claim), with Graham v. Catamaran Health Solutions LLC, 940 F.3d 401, 408 (8th Cir.
2017) (three-year limitations period for unjust enrichment under Arkansas law); Cal. Bus. & Prof.
Code § 16750.1 (2011) (four-year period for antitrust claim), with BASF Corp. v. Cesare’s
Collision Repair & Towing, Inc., 364 F. Supp. 3d 1115, 1122 (E.D. Cal. 2019) (three-year period
for unjust enrichment based on fraud or mistake, and two years for claim based on quantum
meruit).


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Sherman Act or allows indirect purchasers to recover damages from a horizontal antitrust violation

via the state’s consumer protection or unjust enrichment law.”141 This argument does not overcome

the widespread variability in state laws as courts in many states have found differences between

federal and state antitrust laws. See, e.g., Bunker’s Glass Co. v. Pilkington PLC, 75 P.3d 99, 102

(Ariz. 2003); Comes v. Microsoft Corp., 646 N.W.2d 440, 446 (Iowa 2002); Sperry, 863 N.E.2d

at 1018; Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 519 (Tenn. 2005);

Bergstrom v. Noah, 974 P.2d 520, 530–31 (Kan. 1999). CIIPPs have not proffered a manageable

trial plan that can reasonably accommodate the differences discussed above and contained

throughout Appendices A, B, and C to their Motion. In reality, the jury would need separate

instructions as to each variation by state and claim. A set of jury instructions or verdict form that

attempts to address these nuances presents a significant risk of jury confusion when assessing

liability and damages. In re Ford Motor Co. Ignition Switch Prods. Liab. Litig., 174 F.R.D. at 350

(denying class certification where plaintiffs failed to establish state law claims from varying states

could be tried to a single jury in a way that “fairly represents the law of the fifty states while not

overwhelming jurors with . . . a verdict form as large as an almanac”). Accordingly, CIIPPs have

failed to meet their burden of proving predominance or superiority.

          B.     CIIPPs’ Class Definition is Overbroad Given the Wide Variety of Distinct
                 Entities and Complex Distribution Chain

          Not only is the proposed CIIPP class unable to prove claims through common evidence,

the proposed class definition itself is overbroad. Notably, the proposed class includes all entities

“that indirectly purchased fresh or frozen, uncooked turkey breast, ground turkey, or whole bird

turkey products sold by Defendants . . . for their own use in commercial food preparation.”142 This


141
      CIIPPs’ Memorandum in Support at 43, ECF 838.
142
      CIIPPs’ Ex. 1, Mangum Report at ¶ 8, ECF No. 839-1.


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definition incorporates a wide variety of commercial entities with few evident similarities beyond

the act of food preparation—grocery stores, retail stores, restaurants, hospitals, universities,

airlines, medical centers, casinos, cruise ships, and food management companies are among the

disparate entities identified as part of this potential class.143 Dr. Mangum does not (and likely,

cannot) estimate the number of entities this broad class would entail.144

          The distinctions among these entities, and the way they contract for turkey purchases with

direct purchaser distributors, is important given the impact these differences have on the CIIPP

class. Even under the analytical approach advocated by the CIIPPs’ expert, there were no

overcharges on more than
                               -   of the volume of commerce sold by Defendants into the CIIPP

supply chain.145 The Seventh Circuit in Messner, a case cited liberally by CIIPPs in their brief,

held that the potential that a mere 2.4% of a proposed class comprised of uninjured members was

insufficient to deny class certification. 669 F.3d at 826. Compare In re Rail Freight Fuel Surcharge

Antitrust Litig., 934 F.3d 619, 623–25 (D.C. Cir. 2019) (holding 12.7% of uninjured prospective

class members indicated an overbroad class), and In re Asacol Antitrust Litig., 907 F.3d 42, 53–54

(1st Cir. 2018) (10% of the class uninjured constituted an overbroad class), with Pork, 2023 WL

2696497, at *24 (3.8% of uninjured class members was not deemed overbroad).146 The proposed

class here involve sales that far exceed any acceptable threshold for uninjured class members,

which is an independent reason to deny class certification.




143
      CIIPPs’ Ex. 1, Mangum Report at ¶¶ 207–209, ECF No. 839-1; see supra Sec. II.B.
144
      Ex. 8, Mangum Dep. 201:20–203:21.
145
      See supra Sec. IV.A.2.
146
      See also DPP Opposition at 43–46.


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          C.     Logan Farms is an Inadequate Class Representative

          In his report, CIIPPs’ expert Dr. Mangum makes clear that, in order to be considered a

member of the CIIPP class, “the indirect purchaser cannot have purchased the turkey product

directly from the Defendant or alleged Co-Conspirator.”147 Perhaps because Dr. Mangum did not

review any deposition transcripts of the named CIIPPs,148 he was unable to identify that at least

one named representative of the proposed CIIPP class, Logan Farms, fails to satisfy this

requirement.




                                                                                              -
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..        The adequacy of representation requirement “is composed of two parts: ‘the adequacy of

the named plaintiff’s counsel, and the adequacy of representation provided in protecting the

different, separate, and distinct interest’ of the class members.” Retired Chi. Police Ass’n v. City



147
      CIIPPs’ Ex. 1, Mangum Report at ¶ 10, ECF No. 839-1.
148
      Ex. 8, Mangum Dep. 85:10–86:4.
■
■
■
■


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of Chi., 7 F.3d 584, 598 (7th Cir. 1993). Here, Logan Farms is unable to adequately represent the

unique interests of the proposed CIIPP class

                                                                      . Such a potential conflict

between proposed class representatives and members of the class is impermissible and constitute

a basis to deny class certification. Id.

V.      Conclusion

        For the reasons stated above, CIIPPs’ Motion for Class Certification and Appointment of

Class Counsel should be denied.




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Dated: January 26, 2024                      Respectfully submitted,

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                                       Certificate of Service

       I hereby certify that on the 26th day of January, 2024, a copy of the foregoing Opposition

was filed electronically with the Clerk of the Court using the Court’s CM/ECF system, which sent

a copy of the filing to all counsel of record.



                                                      /s/ Colby Anne Kingsbury
                                                      Colby Anne Kingsbury




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